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Case 5:00-cv-02475-DEW-RSP Document 7 Filed 06/14/01 Page 1of1PagelD#: 22

US. DISTRICT COURT
WESTERN DISTRICT OF LQUISIANA

MINUTE ENTRY ORDER JUN 14 2001

June 14, 2001
ROBERT HGHEMWELL, GLERK
mea

MAGISTRATE JUDGE ROY S. PAYNE
300 Fannin Street, Suite 4300

Shreveport, La 71101-3087 USDC/WD/LA-SHREVEPORT DIVISION
JACQUETTA MITCHELL CIVIL ACTION NO. 00-2475
versus JUDGE WALTER

BAILEY PROPERTIES, LLC, ET AL. MAGISTRATE JUDGE PAYNE

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Both counsel having advised the court at the June 12, 2001
Scheduling Conference, that a mediation will be held in this matter
during August, entry of a Scheduling Order is deferred until a

TELEPHONE STATUS CONFERENCE on September 7, 2001 at 2:30 p.m.

cc'd to RSP

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DATE: ¢ (4 (0

BY:
TO: JOSS
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